           Case 1:18-cv-22922-KMM Document
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                                                       on FLSD Docket 07/19/2018 Page 1 of 1

of initiaring rhe civil docker sheer. tsEE /NsrÆ UCT¡2NS oN NE.yr PAGE oF Tilts FoR,Lr, NOTICE: Attorneys MUST lndicate Aìl Re-fïled Cases Belorv.
I' (a) PLAINTIFFS Geraldine Buenaventura, as personal                                                                                 DEFENDANTS NcL Bahamas (Ltd.); D-I Davit International, Inc.;
                                     representative of Ben Buenaventura                                                                          Hatecke Service USA, LLC

     (b) County of Residence of First Listed Plaintiff Philippines                                                                    County olResidence ofFirst Listed Defentlant
                                   (EXCEPT IN U.S, PLA]NTlFF CÀSES)                                                                                                 (lN U.S. PLA|NT|FF CASES ONLY)
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     Lipcon Margulies Alsina & Winkleman,2 S. Biscayne Blvd. Ste. 1776,                                                               Mase Mebane Briggs, 2601 S. Bayshore Dr., Ste. 800, Miami, FL,
     Miami, FL, 33 1 3 I , (305) 373-091 0                                                                                            33133, (305) 317 -317 0 (for NCL Bahamas (Ltd.))
 (d)Check County Where Action Arose: f, vr,rvr. o,,rur E voNnou                                   O BRoWARD E PALM BEACH E M^RTIN E ST- LUCIE O INDI^N IìIVER E OKELCHÕBEE E HIC}IL,{NDS

II. BASIS OF JURISDICTION                                  (Place an "X" in One Box Only)                            III. CITIZENSHIP OF PRINCIPAL PARTIES (Phce an "x" in one Boxþr Ptainrift)
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VI. REI,ATEDi                                 (See instructìons): a) Re-filed               Case trYES ú NO                                    b) Related Cases ¡YES ú NO
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vilr. REQUESTED IN                                 CIIECK IF TI-IIS IS A CLASS ACTION
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